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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                    March 13, 2025
                          UNITED STATES DISTRICT COURT
                                                                                  Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


VALIFORNIA INC.,                              §
      Plaintiff,                              §
                                              §
VS.                                           § CIVIL ACTION NO. 4:24-CV-2016
                                              §
U.S. BANK N.A.,                               §
       Defendant.                             §

                                    FINAL JUDGMENT
       In a Memorandum Opinion and Order issued simultaneously with this judgment,

the Court granted the motion to dismiss filed by Defendant U.S. Bank National

Association. (Dkt. 16). In accordance with that ruling, Plaintiff Valifornia Inc.’s claims are

DISMISSED WITH PREJUDICE. Each party shall bear its own fees and costs. Any

other pending motions are DENIED AS MOOT.

       THIS IS A FINAL JUDGMENT.

        SIGNED at Houston, Texas on March 13, 2025.


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                                                       GEORGE C. HANKS, JR.
                                                   UNITED STATES DISTRICT JUDGE




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